            Case 2:21-cv-01276-JCM-EJY Document 11
                                                13 Filed 10/12/21
                                                         10/18/21 Page 1 of 2




1    MichaelbKind,bEsq.
2    NevadabBarbNo.:b13903
     KindbLaw
3
     8860bSouthbMarylandbParkway,bSuiteb106
4    LasbVegas,bNevadab89123
5    (702) 337-2322
     (702) 329-5881b(fax)
6
     mk@kindlaw.com
7    AttorneybforbPlaintiffbEdithbWilson
8
9                        UNITEDbSTATESbDISTRICTbCOURT
                              DISTRICTbOFbNEVADA
10
11    EdithbWilson,b                                 CasebNo.:b2:21-cv-01276-JCM-EJY
12
13                      Plaintiff,                   StipulationbofbdismissalbofbJimb
      bv.                                            MarshbAmericanbCorporationbdbab
14                                                   JimbMarshbKiabwithbprejudice
15
      JimbMarshbAmericanbCorporationbdbab
16    JimbMarshbKia,
17
18                      Defendant.
19
            PursuantbtobRuleb41(a)bofbthebFederalbRulesbofbCivilbProcedure,bEdithbWilsonb
20
     andb Jimb Marshb Americanb Corporationb dbab Jimb Marshb Kiab stipulateb tob dismissb
21
     Plaintiff'sb claimsb againstb Jimb Marshb Americanb Corporationb dbab Jimb Marshb Kiab
22
     withbprejudice.b
23
     ///
24
     ///
25
     ///
26
27
     _____________________
     STIPULATION                             - 1b-
          Case 2:21-cv-01276-JCM-EJY Document 11
                                              13 Filed 10/12/21
                                                       10/18/21 Page 2 of 2




1         Eachbpartybwillbbearbitsbownbcosts,bdisbursements,bandbattorneybfees.
2         Dated:bSeptember 28, 2021.
3
4    KINDbLAW

5    b/s/bMichaelbKindb           b.
6    MichaelbKind,bEsq.
     8860bSouthbMarylandbParkway,bSuiteb106
7    LasbVegas,bNevadab89123
8    AttorneybforbPlaintiffbEdithbWilson
9    GALLAGHERbLAWbFIRM
10
     /s/bKathleenbGallagherb        b.
11
     KathleenbGallagher,bEsq.
12   1850bEbSaharabAvebSte.b107
     LasbVegas,bNevadab89104
13
14   GALLAGHERbLAWbFIRM
15
     /s/bKeithbGallagherbbbbb   b.
16   ,FJUIbGallagher,bEsq.
17   1850bEbSaharabAvebSte.b107
     LasbVegas,bNevadab89104
18
     CounselbforbJimbMarshbAmericanbCorporationbdbabJimbMarshbKia
19
20                                        ITbISbSObORDERED:
21
                                          _______________________________
22
                                          UNITESbSTATESbDISTRICTbJUDGEb
23
24                                                   October 18, 2021
                                          DATED:________________________
25
26
27
     _____________________
     STIPULATION                           - 2b-
